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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ADDICTING INFO ENTERPRISES, LLC.,                     )
                                                      )
                       Plaintiff and Counter-         )
                       Defendant,                     )
                                                      )
                vs.                                   )     No. 16 C 5176
                                                      )
LEAH FARLEY,                                          )     Judge Elaine E. Bucklo
                                                      )
                       Defendant, Counter-            ) Magistrate Judge Susan E. Cox
                       Plaintiff, and Third-Party     )
                       Claimant,                      )
                                                      )
                vs.                                   )     JURY DEMANDED
                                                      )
DANIEL GOULDMAN and                                   )
MATTHEW HANSON,                                       )
                                                      )
                       Third-Party Defendants.        )

                                  ANSWER, COUNTERCLAIM AND
                                    THIRD-PARTY CLAIM

        Now comes LEAH FARLEY, Defendant herein, and in response to the Complaint herein,

states as follows:

       1.       Plaintiff ADDICTING INFO ENTERPRISES, LLC (“Addicting Info”) is a
Limited Liability Company with offices at 353 N. Des Plaines Ave., Unit 1810, Chicago, IL 60661
and 1531 Linden Cir., Lemont, IL 60439.

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 1.

        2.      Defendant LEAH FARLEY (“Defendant”) is a citizen of New Hampshire who
resides at 2101 S. Delaware Avenue, Glen, NH 03838.

     RESPONSE: Deny. Defendant affirmatively states that she was a citizen of New
Hampshire at the time this suit was removed and is now a citizen of Kansas.

         3.      Jurisdiction and venue are proper as this cause of action arises from property owned
by an Illinois Limited Liability Company and the execution and performance of a contract which
partially occurred in Cook County, Illinois.
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        RESPONSE: Denies that any property at issue is owned by an Illinois Limited
Liability Company. Defendant affirmatively states that this Court has jurisdiction over the
subject matter by virtue of the diversity of citizenship of the parties thereto and the amount
in controversy exceeding $75,000, exclusive of interest and costs.

        4.      Addicting Info is an Illinois Limited Liability Company which owns and operates
several websites which primarily post political content.

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 4.

         5.      Those websites each derive ad revenue through third-party internet advertising
entities, including Adwords and Adsense.

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 5.

      6.     Addicting Info is owned and operated by Daniel Gouldman (“Gouldman”) and
Matthew Hanson (“Hanson”).

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 6.

        7.      In or around September of 2014, Gouldman and Hanson had discussions about the
creation of an additional website devoted to the posting of political content.

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 7.

       8.     In furtherance thereof, on September 19, 2014, Hanson purchased the domain name
“ifyouonlynews.com” on behalf of Addicting Info.

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 8.

        9.      On September 27, 2014, Addicting Info engaged the Defendant to manage the day
to day operations of ifyouonlynews.com and to perform other services for other areas of Addicting
Info’s operations.

       RESPONSE: Denies. Affirmatively states that Defendant became a partner with
Daniel Gouldman and Matthew Hanson and that partnership was to conduct certain
business.

      10.      In conjunction with the engagement, the Parties executed an Agreement (“the
Agreement”). See Agreement, attached hereto as Exhibit “1.”




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       RESPONSE: Admits that the copy of Exhibit “1” is a true and accurate copy of an
original document and denies all other allegations or inferences drawn therefrom in
paragraph 10.

        11.     Under the terms of the Agreement, the Defendant was obligated to manage the
“day to day operations” of ifyouonlynews.com. See Exhibit “1” at ¶ 2a.

        RESPONSE: States that Exhibit “1” speaks for itself and denies the remaining
allegations in paragraph 11. Answering further, Defendant affirmatively asserts that
throughout its complaint Plaintiff attempts by use of the word “website” to conflate
ownership of the domain name, commonly known as a URL (uniform resource locator) or
web address, with ownership of the business which operated under such domain name. As
to the latter Defendant was the owner of a partnership interest in a partnership established
to operate such business and Daniel Gouldman and Matthew Hanson were also partners in
such partnership. Defendant does not assert any ownership interest in the URL
“ifyouonlynews.com” itself except that she had the right to use the URL in order to conduct
business under the URL. For the avoidance of doubt, Defendant will treat any allegation
relating to a “website” or to “inyouonlynews.com” as referring exclusively to the business
conducted under the URL ifyouonlynews.com (hereafter the “URL”) and not to the URL
itself.

       12.     In that capacity, the Defendant was responsible for managing the website’s writers
and optimizing ad revenues from Google Adsense.

        RESPONSE: States that Exhibit “1” speaks for itself and denies the remaining
allegations in paragraph 12; affirmatively states that as an owner of a partnership interest in
the partnership formed to operate a business under the URL she managed the operations of
such business, including optimizing advertising revenues from Google Adsense.

        13.     With regard to ownership, the Parties specifically agreed that “the website and all
social media platforms will be considered a subsidiary of Addicting Info Enterprises LLC and all
administrative access rights will be maintained by the members of the company – Daniel and
Matthew.” See Exhibit “1” at ¶ 2e.

        RESPONSE: States that Exhibit “1” speaks for itself and denies the remaining
allegations in paragraph 13; affirmatively states that Defendant was an owner of a
partnership interest in the partnership formed to operate a business under the URL.

         14.     Similarly, with regard to responsibility for the website’s expenses and management of
its finances, the Agreement made clear that Addicting Info had full responsibility for all expenses
and full control over all financial transactions. See Exhibit “1” at ¶¶ 2c & 2e.

        RESPONSE: States that Exhibit “1” speaks for itself and denies the remaining
allegations in paragraph 14; affirmatively states that Defendant was as an owner of a
partnership interest in the partnership formed to operate the business under the URL




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        15.      During the entire course of her engagement, ifyouonlynews.com never operated as a
separate entity or business and Defendant never had access to any bank account associated with the
website of Addicting Info.

        RESPONSE: Admits that Defendant was not a signatory on any bank account on
which Daniel Gouldman or Matthew Hanson was a signatory; denies the remaining
allegations of paragraph 15.

        16.     The Parties never formed a new limited liability company, corporation, partnership,
or other entity with ownership rights over ifyouonlynews.com.

        RESPONSE: Lacks knowledge and information sufficient to form a belief as to the
truth of the allegations in paragraph 16.

       17.     The Defendant never contributed financially to the startup or ongoing expenses of
ifyouonlynews.com.

       RESPONSE: Deny.

       18.     Instead, she was simply paid compensation pursuant to the terms of the Agreement
and received a 1099 form for the years 2014 and 2015 which reflected that she was being paid as an
independent contractor rather than as an owner.

       RESPONSE: Admits that Defendant received a form 1099 for the years 2014 and
2015; and denies the remaining allegations of paragraph 18.

       19.     The Defendant never objected to receiving a 1099 or otherwise claimed that her tax
forms should reflect an ownership interest in ifyouonlynews.com.

       RESPONSE: Deny.

       20.      During the course of her engagement, the Defendant confirmed on several
occasions that she was not an owner of ifyouonlynews.com. See Facebook Postings dated December
29, 2015, September 16, 2015, and September 17, 2015, attached hereto as Exhibit “2.”

        RESPONSE: States that Exhibit “2” speaks for itself and denies the remaining
allegations of paragraph 20; affirmatively states that Defendant never asserted any
ownership interest in the URL itself but was an owner of a partnership interest in the
partnership formed to operate a business under the URL

        21.     In January of 2016, Gouldman and Hanson learned that the Defendant had disclosed
proprietary information of ifyouonlynews.com without authorization to a third party.

       RESPONSE: Deny.

       22.     When confronted regarding the unauthorized disclosure, the Defendant
acknowledged that she had improperly disclosed proprietary information of ifyouonlynews.com
without authorization.
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       RESPONSE: Deny.

      23.     Accordingly, on February 1, 2016, Addicting Info terminated its contract with the
Defendant. See Facebook Posting dated February 1, 2016, attached hereto as Exhibit “3.”

        RESPONSE: Denies the allegations of paragraph 23 and each of them; affirmatively
states that Plaintiffs wrongfully prevented Defendant from performing her duties as a
partner in the partnership formed to conduct business under the URL and preventing her
from managing such business, and have refused to honor Defendant’s ownership of a
partnership interest in the partnership formed to operate the business under the URL
Defendant affirmatively states that she managed the business successfully and took no
action adverse to the interests of the partnership.

        24.    The Defendant acknowledged the termination and agreed to return any files and
logins to Addicting Info so that day to day management of ifyouonlynews.com could revert to
Gouldman and Hanson’s control while they located a suitable replacement for the Defendant. See
Exhibit “3.”

       RESPONSE: Deny.

      25.      Addicting Info paid the Defendant all compensation owed under the terms of the
Agreement.

       RESPONSE: Deny.

       26.      Thereafter, the Defendant continued to submit articles for other websites owned by
Addicting Info, Gouldman, and Hanson.

        RESPONSE: Admit that Defendant attempted to mitigate the damages caused by
the wrongful conduct of Plaintiff, Gouldman and Hanson and to that end she submitted
articles for use in URLs other than the URL.

        27.   During the term of her engagement and at the time of her termination, the
Defendant never claimed that she was an owner of ifyouonlynews.com or any of its social media
platforms.

        RESPONSE: Admit that Defendant never claimed an ownership of the URL, denies
the remaining allegations, and affirmatively states that she was an owner of a partnership
interest in the partnership formed to operate the business under the URL

         28.    Despite the foregoing, on or about March 31, 2016, the Defendant claimed that she
is the sole owner of ifyouonlynews.com and any intellectual property associated with the site.

       RESPONSE: Defendant is the sole owner of all copyrightable materials which she
created and/or authored was used in connection with the business conducted under the
URL. Defendant does not claim any ownership interest in the URL.

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        29.     Based upon that assertion, the Defendant claims she is entitled to: 1) 30% of all
profits generated by ifyouonlynews.com prior to February 1, 2016; 2) all profits generated by
ifyouonlynews.com since February 1, 2016; and 3) the immediate transfer of ifyouonlynews.com, its
Facebook page, and any related intellectual property to her control and possession.

       RESPONSE: Defendant is an owner of a partnership interest in the partnership
formed to operate the business under the URL business; is the sole owner of all
copyrightable material which she created or authored which is used in the business
conducted under the URL, and is entitled to the full protection of her rights in such
ownership interests.

          30.   Plaintiffs repeat and reallege Paragraphs 1 through 29 as if fully set forth herein.

      RESPONSE: Defendant repeats her responses to paragraphs 1 through 29 of the
Complaint.

        31.     At all relevant times, Addicting Info was and is the owner of ifyouonlynews.com, all
related social media platforms, and all related intellectual property.

          RESPONSE: Deny.

        32.    Under the terms of the Agreement, the Defendant agreed that Addicting Info was
and is the owner of ifyouonlynews.com, all related social media platforms, and all related intellectual
property.

          RESPONSE: Deny.

       33.    Prior to March of 2016, the Defendant never claimed an ownership interest in
ifyouonlynews.com, any related social media platforms, and any related intellectual property.

          RESPONSE: Deny.

        34.    Nevertheless, the Defendant now claims that she is the sole owner of
ifyouonlynews.com and any related intellectual property. Furthermore, she has demanded control
over the website, its Facebook page, and all profits associated with the website.

        RESPONSE: Deny. Defendant has claimed her ownership of a partnership interest
in the partnership formed to operate the business under the URL and in all copyrightable
works which she created or authored which is used in connection with the business
conducted under the URL.

          35.   Thus, an actual controversy exists between the Parties regarding the issues set forth
herein.

        RESPONSE: Admits that an actual controversy exists, but only by virtue of
Plaintiff’s wrongful acts.



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       36.      This Court is empowered, pursuant to 735 ILCS 5/2-701, to declare whether the
Defendant holds any ownership or other interest in ifyouonlynews.com, its social media platforms,
and any related intellectual property.

       RESPONSE: Paragraph 36 is not applicable to a claim pending in the United States
District Court for the Northern District of Illinois.

            37.   Addicting Info is entitled to declaratory relief, as requested below.

            RESPONSE: Deny.

            WHEREFORE, Defendant LEAH FARLEY prays that judgment be entered in Defendant’s

favor, together with costs, reasonable attorneys, and such other relief as this Court deems meet and

just.

                             COUNTERCLAIM AND THIRD PARTY CLAIM

            Now comes LEAH FARLEY, Counterplaintiff and Third-party claimant herein, and

complaining of ADDICTING INFO ENTERPRISES, LLC, Counterdefenant herein; and

DANIEL GOULDMAN, and MATTHEW HANSON, Third-party Defendants herein, states as

follows:

            1.    Counterplaintiff and Third-Party Claimant LEAH FARLEY (“FARLEY”) is a

citizen of Kansas.

            2.    Counterdefendant ADDICTING INFO ENTERPRISES, LLC (“ADDICTING

INFO”) is an Illinois Limited Liability Company with the headquarters in the Northern District of

Illinois.

            3.    Third-party Defendant DANIEL GOULDMAN (‘GOULDMAN”) is a citizen of

Illinois residing in the Northern District of Illinois.

            4.    Third-party Defendant MATTHEW HANSON (“HANSON”) is a citizen of Illinois

residing in the Northern District of Illinois.




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        5.       This Court has jurisdiction over this Counterclaim and Third-Party Claim pursuant

to 28 U.S.C. §1332; 17 U.S.C. §§501-502 and 504-505; and Rules 13(a) and 18 of the Federal Rules

of Civil Procedure.

        6.       On or about September 27, 2014, FARLEY entered into an agreement (the

“Agreement”) with GOULDMAN and HANSON. A true and accurate copy of the Agreement is

attached as Exhibit “1” to the Complaint herein. Under the Agreement and pursuant to extensive

discussions and oral agreements both before and after the date of the Agreement, a partnership was

formed by and between FARLEY, ADDICTING INFO, GOULDMAN and HANSON to operate

a business under the internet domain name “”ifyouonlynews.com” (hereafter “the URL”).

FARLEY’s duties under the partnership included, inter alia, the operation of a business under the

URL and taking actions to optimize revenue from Google Adsense arising from such business.

Google Adense is a program under which revenue is earned by a URL for “click through” purchases

from Google sourced advertisements displayed on the website. The partner’s compensation for their

efforts is set forth in the Agreement.

        5.       FARLEY performed all of her obligations as a partner and the business conducted

by the partnership under the URL was successful and produced substantial revenues solely as a

result of her efforts.

        6.       FARLEY furthered the value of the business conducted by the partnership by

developed the design concept, accomplished all of the advertising optimization, contracted with all

content providers, and paid thirty percent (30%) of all advertising and overhead costs for 16

months.

        7.       FARLEY has never been an employee of ADDICTING INFO, GOULDMAN or

HANSON and she never signed a work for hire agreement with any party relating to content created

for use with the URL.

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        8.      On or about April 26, 2016, ADDICTING INFO, GOULDMAN and HANSON

terminated FARLEY’s status as the URL’s administrator with Facebook and tool similar actions,

effectively preventing FARLEY from performing under the partnership.

                                              COUNT I

        9.      The Agreement formed a partnership under the Illinois Uniform Partnership Act.

        10.     The unilateral actions of ADDICTING INFO, GOULDMAN and HANSON

terminating the partnership created to conduct business under the URL. Despite such termination

ADDICTING INFO, GOULDMAN and HANSON had and still have a fiduciary duty to

FARLEY to wind up the partnership under the provisions of the Illinois Uniform Partnership Act

and to perform such other acts as are required of a fiduciary.

        11.     ADDICTING INFO, GOULDMAN and HANSON, and each of them, has failed

and refused to wind up the partnership or to perform their fiduciary duties to FARLEY.

        WHEREFORE, LEAH FARLEY prays that this Honorable Court: (i) Order

ADDICTINFO, GOULDMAN and HANSON, and each of them, to take such actions under the

Illinois Uniform Partnership Act as are necessary to wind up the affairs of the partnership; and (ii)

award FARLEY such damages and other relief as is necessary to place her in the position she would

have occupied had ADDICTING INFO, GOULDMAN and HANSON properly fulfilled their

fiduciary duties to her.

                                             COUNT II

        12.     Paragraphs 1 through 11 of Count I above are realleged as paragraphs 1 through 11

of Count II.

        13.     Under the Copyright Act, FARLEY is the author and creator of all copyrightable

content created or authored by her and used in connection with the business operated under the

URL.

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       14.     FARLEY is the owner of all such copyrightable content. On March 7, 2016,

FARLEY filed with United States Copyright Office an application for registration of such

copyrightable content which application is presently pending. When the application is granted, it will

be retroactive to March 7, 2016.

       15.     ADDICTING INFO, GOULDMAN and HANSON have been using FARLEY’s

copyrighted content without FARLEY’s consent, thereby infringing her rights under the Copyright

Act.

       16.     FARLEY is entitled to an injunction preventing ADDICTING INFO,

GOULDMAN and HANSON from using her copyrighted content. Further, FARLEY is entitled to

damages for such infringement from ADDICTING INFO, GOULDMAN and HANSON, and

each of them, including statutory damages as provided by law.

       WHEREFORE, LEAH FARLEY prays for (i) a declaration that she is the owner of all

copyrightable material used in connection with the partnership and (ii) an award damages against the

Counterdefendant and the Third-Party Defendants for infringement of the same, including

reasonable attorneys fees and costs.

       JURY IS DEMANDED OF ALL ISSUES SO TRIABLE.


                                                       /s/Paul F Stack
                                                       Attorney for Leah Farley
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